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                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
                                                           Telephone: (702) 471-7432
                                                       5   Fax: (702) 926-9683
                                                           Email: blarsen@shea.law
                                                       6           kwyant@shea.law

                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                       9
                                                                                              DISTRICT OF NEVADA
                                                      10
                                                           In re:
                                                      11                                                            Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
              1731 Village Center Circle, Suite 150




                                                      12
                                                                                 Debtor.
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                      14   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND                                  Adversary Case No. 21-01167-abl
                                                      15   INTERNATIONAL SP,
                                                      16                         Plaintiff,
                                                                                                                       NOTICE OF ISSUANCE OF
                                                      17   v.                                                        SUBPOENA TO TESTIFY AT A
                                                                                                                    DEPOSITION IN A BANKRUPTCY
                                                      18   TECUMSEH–INFINITY MEDICAL                                    CASE (OR ADVERSARY
                                                           RECEIVABLES FUND, LP,                                           PROCEEDING)
                                                      19
                                                                                Defendant.
                                                      20

                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22
                                                                               Counter-Plaintiff,
                                                      23
                                                           v.
                                                      24
                                                           HASELECT-MEDICAL RECEIVABLES
                                                      25   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP; ROBERT E. ATKINSON,
                                                      26   CHAPTER 7 TRUSTEE
                                                      27                        Counter-Defendants.
                                                      28


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                                                       1   TO ALL INTERESTED PARTIES AND THEIR RESPECTIVE COUNSEL:
                                                       2          PLEASE TAKE NOTICE that, pursuant to Fed. R. Bankr. P. 9016 and Fed. R. Civ. P. 45,
                                                       3   that Plaintiff HASelect-Medical Receivable Litigation Finance Fund International SP intends to
                                                       4   serve a Subpoena, in the form attached hereto as Exhibit 1, on OLIVER HEMMERS on the date of
                                                       5   this notice, or as soon thereafter as service may be effectuated.
                                                       6          Dated this 9th day of September 2022.
                                                                                                              SHEA LARSEN
                                                       7
                                                                                                              /s/ Bart K. Larsen, Esq.
                                                       8                                                      BART K. LARSEN, ESQ.
                                                                                                              Nevada Bar No. 8538
                                                       9                                                      KYLE M. WYANT, ESQ.
                                                                                                              Nevada Bar No. 14652
                                                      10                                                      1731 Village Center Circle, Suite 150
                                                                                                              Las Vegas, Nevada 89134
                                                      11                                                      Attorneys for HASelect-Medical Receivables
              1731 Village Center Circle, Suite 150




                                                                                                              Litigation Finance Fund International SP
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                                                                       CERTIFICATE OF SERVICE
                                                       1
                                                               1.    On September 9, 2022, I served the following document(s): NOTICE OF
                                                       2             ISSUANCE OF SUBPOENA TO TESTIFY AT A DEPOSITION IN A
                                                                     BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
                                                       3
                                                               2.    I served the above document(s) by the following means to the persons as listed
                                                       4             below:
                                                       5             ց      a.      ECF System:
                                                       6             CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                                     clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com
                                                       7
                                                                     GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                       8             RECEIVABLES FUND, LP
                                                                     ggordon@gtg.legal, bknotices@gtg.legal
                                                       9
                                                                     MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                                                      10             RECEIVABLES FUND, LP
                                                                     michael.napoli@akerman.com,
                                                      11             cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
              1731 Village Center Circle, Suite 150




                                                                     @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com
                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                                     ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                                                      13
                        (702) 471-7432




                                                                     RECEIVABLES FUND, LP
                                                                     ariel.stern@akerman.com, akermanlas@akerman.com
                                                      14
                                                                     տ      b.      United States mail, postage fully prepaid:
                                                      15
                                                                     տ      c.      Personal Service:
                                                      16
                                                                     I personally delivered the document(s) to the persons at these addresses:
                                                      17
                                                                                     տ       For a party represented by an attorney, delivery was made by
                                                      18             handing the document(s) at the attorney’s office with a clerk or other person in
                                                                     charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                      19             in the office.
                                                      20                             տ       For a party, delivery was made by handling the document(s)
                                                                     to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                      21             place of abode with someone of suitable age and discretion residing there.
                                                      22             տ       d.      By direct email (as opposed to through the ECF System):
                                                                     Based upon the written agreement of the parties to accept service by email or a
                                                      23             court order, I caused the document(s) to be sent to the persons at the email
                                                                     addresses listed below. I did not receive, within a reasonable time after the
                                                      24             transmission, any electronic message or other indication that the transmission was
                                                                     unsuccessful.
                                                      25
                                                                     տ      e.      By fax transmission:
                                                      26
                                                                     Based upon the written agreement of the parties to accept service by fax
                                                      27             transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                     numbers listed below. No error was reported by the fax machine that I used. A copy
                                                      28


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                                                                     of the record of the fax transmission is attached.
                                                       1
                                                                     տ      f.      By messenger:
                                                       2
                                                                     I served the document(s) by placing them in an envelope or package addressed to
                                                       3             the persons at the addresses listed below and providing them to a messenger for
                                                                     service.
                                                       4
                                                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       5
                                                                     Dated: September 9, 2022.
                                                       6
                                                                                                    By: /s/ Bart K. Larsen, Esq,
                                                       7

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                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                       EXHIBIT 1
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B2560 (Form 2560 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/15)

                                       UNITED STATES BANKRUPTCY COURT
                                                        Nevada
  _________________________________________ District of _________________________________________
      Infinity Capital Management, Inc.
In re __________________________________________
                                     Debtor
                                                                                              7
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                             21-14486-abl
                                                                                     Chapter ___________
HASelect-Medical Receivables Litigation Finance Fund International SP
_________________________________________
                                    Plaintiff
                                        v.                                                          21-01167-abl
                                                                                     Adv. Proc. No. ________________
__________________________________________
Tecumseh-Infinity Medical Receivables Fund, LP
                                   Defendant

                                        SUBPOENA TO TESTIFY AT A DEPOSITION
                                 IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
      Oliver Hemmers - 281 Gingerbread Street Henderson, Nevada 89012
  To: ________________________________________________________________________________________
                                      (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:

  PLACE                                                                                                        DATE AND TIME

   Shea Larsen, 1731 Village Center Circle, Suite 150, Las Vegas, NV 89134                                     September , 2022 at 9:00 a.m.
  The deposition will be recorded by this method:Stenographic means until completed

      Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:


          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
        
  Date: _____________
                                    CLERK OF COURT

                                                                                     OR
                                    ________________________                                   /s/ Bart K. Larsen, Esq.
                                                                                             ________________________
                                    Signature of Clerk or Deputy Clerk                            Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party) HASelect-Medical Receivables
  ____________________________
   Litigation Finance Fund International SP   , who issues or requests this subpoena, are:
  Bart K. Larsen, Esq. 1731 Village Center Circle, Suite 150, Las Vegas, Nevada 89134
                                           Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B2560 (Form
      (     2560 – Subpoena
                      p     to Testifyy at a Deposition
                                               p        in a Bankruptcy
                                                                   p y Case or Adversary
                                                                                       y Proceeding)
                                                                                                  g) (Page
                                                                                                     ( g 2))



                                                               PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .



          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                 Server’s signature

                                                                                  ________________________________________________
                                                                                                               Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
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B2560 (Form
      (     2560 – Subpoena
                      p     to Testifyy at a Deposition
                                               p        in a Bankruptcy
                                                                   p y Case or Adversary
                                                                                       y Proceeding)
                                                                                                  g) (Page
                                                                                                     ( g 3))


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                           (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
